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                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
JD                                                271 Cadman Plaza East
F. #2020R00990                                    Brooklyn, New York 11201



                                                  October 27, 2021

By ECF

Hon. Brian M. Cogan
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, N.Y. 11201

               Re:   United States v. Joseph Codd
                     Crim. Dkt. No. 20-534 (BMC)(VMS)

Dear Judge Cogan:

               The government respectfully writes jointly with the defense to request an
adjournment of the sentencing in this matter, currently scheduled for November 3, 2021.
The request is made to accommodate the Court’s briefing schedule in light of the ongoing
discussions of the facts as they apply to the Pre-Sentence Report (“PSR) issued by the United
States Probation Department, and to accommodate a civilian witness who may wish to be
heard or at least submit a statement to the Court at sentencing.

               The parties jointly request a date at the Court’s convenience for a Live, in
person proceeding - namely November 17, 2012 at 11:00 a.m.. This will allow the parties to
file objections to the PSR, if any, and to submit written submissions regarding sentencing.
To the extent necessary, since the guilty plea has not yet been accepted by the Court, the

parties also
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request an order of excludable delay from November 3, 2021 through the scheduled
sentencing date of November 17, 2021. This is the third application to adjourn sentence.
The defense consents to this application.

                                                 Respectfully submitted,

                                                 BREON PEACE
                                                 United States Attorney

                                          By:      s/Jack Dennehy
                                                 Jack Dennehy
                                                 Assistant U.S. Attorney
                                                 (718) 254-6133

Cc: Patrick Brackley, Esq. (By ECF)




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